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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                Case No.1:18-cv-23576-KMW

   AM GRAND COURT LAKES LLC
   & AM 280 SIERRA DRIVE LLC,

          Plaintiffs/Counter-Defendants,

   v.

   ROCKHILL INSURANCE COMPANY,

        Defendant/Counter-Plaintiff.
   ______________________________/

        DEFENDANT/COUNTER-PLAINTIFF'S MOTION FOR ATTORNEYS’ FEES

          Defendant/Counter-Plaintiff, ROCKHILL INSURANCE COMPANY ("Defendant"),

   by and through its undersigned counsel and pursuant to the Federal Rules of Civil

   Procedure, hereby files Defendant's Motion for Attorney’s Fees, and in support thereof,

   states as follows:

   I.     RELEVANT BACKGROUND

          1.     On November 1, 2019, the Court entered a Paperless Order to Show Cause

   [D.E. #133] directing the parties to appear and Show Cause on November 4, 2019 as to

   why they failed to comply with the Court's October 28, 2019 Order [D.E. #130].

          2.     On November 4, 2019, a Show Cause Hearing [D.E. #138] was held before

   Judge Kathleen M. Williams, during which the Court also considered Defendant’s then-

   pending Expedited Motion to Compel Compliance with the Court's Orders (“Motion to

   Compel”) [D.E. #131].
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         3.     A genuine copy of the transcript for the November 4, 2019 Show Cause to

   Hearing has been filed with the Court [D.E. #232].

         4.     At the November 4, 2019 Show Cause Hearing, the Court made the

   following ruling with regard to Defendant’s Motion to Compel (addressing Plaintiffs’ lead

   counsel Jose Font, Esq.):

                And because I believe that you have in fact throughout this case
                flouted not only Judge Torres' orders but mine as well I am
                going to order as sanctions that you pay attorney's costs for
                Ms. Levy; for Ms. Levy being here today and for her having to
                file the motion she had to file the other day.

                Ms. Levy, you will put together some type of voucher or
                however you wish to present it. You can submit that to Mr. Font
                and to the Court.

                I have to say, Mr. Font, I am baffled, puzzled and absolutely
                amazed that you seem to believe that not only Ms. Levy but the
                Court must attend to your schedule and the demands of your
                calendar; which is completely and wholly inappropriate.

   [D.E. #232], page 20, lines 10-21.

         5.     On February 24, 2020, Defendant filed the Declaration of Lauren D. Levy,

   as to the fees incurred by Defendant in connection with the Motion to Compel and the

   Show Cause hearing in the amount $2,350.50. [D.E. #225].

   II.   MEMORANDUM OF LAW

         Rule 16 of the Federal Rules of Civil Procedure, governing Pretrial Conferences,

   Scheduling and Management, provides, in relevant part:

         (f) SANCTIONS.

         (1) In General. On motion or on its own, the court may issue any just
         orders, including those authorized by Rule 37(b)(2)(A)(ii)–(vii), if a
         party or its attorney:

         (A) fails to appear at a scheduling or other pretrial conference;



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          (B) is substantially unprepared to participate—or does not participate
          in good faith—in the conference; or

          (C) fails to obey a scheduling or other pretrial order.

          (2) Imposing Fees and Costs. Instead of or in addition to any other
          sanction, the court must order the party, its attorney, or both to pay
          the reasonable expenses—including attorney’s fees—incurred
          because of any noncompliance with this rule, unless the
          noncompliance was substantially justified or other circumstances
          make an award of expenses unjust.

          WHEREFORE,          Defendant/Counter-Plaintiff,      ROCKHILL         INSURANCE

   COMPANY, respectfully requests the entry of an Order granting its Motion for Attorney’s

   Fees and awarding any further relief deemed just and proper under the circumstances.



                              CERTIFICATE OF CONFERENCE

          Counsel for Defendant/Counter-Plaintiff, ROCKHILL INSURANCE COMPANY,

   certifies that, in accordance with S.D. Fla. L.R. 7.1(a)(3), they have conferred counsel for

   Plaintiffs/Counter-Defendants, AM GRAND COURT LAKES LLC and AM 280 SIERRA

   DRIVE LLC, via electronic correspondence concerning the relief sought in this Motion, in

   a good faith effort to resolve the issues raised in the Motion, and that Plaintiffs/Counter-

   Defendants oppose the relief requested herein.




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                                 CERTIFICATE OF SERVICE

          I hereby certify that on April 30, 2020, I electronically filed the foregoing document

   with the clerk of the Court using CM/ECF. I also certify that the foregoing document is

   being served via email this day to: Font & Nelson, PLLC, 200 S. Andrews Avenue, Suite

   501,        Fort     Lauderdale,         Florida       33301        (jfont@fontnelson.com;

   afriedman@fontnelson.com;         bfischer@fontnelson.com;        fnelson@fontnelson.com;

   gvega@fontnelson.com;            jproffitt@fontnelson.com;         jwilds@fontnelson.com;

   nkronen@fontnelson.com;        pleadings@fontnelson.com); either via transmission of

   Notices of Electronic Filing generated by CM/ECF or in some other authorized manner

   for those counsel or parties who are not authorized to receive electronically Notices of

   Electronic filing.

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